      Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 1 of 13




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


MEHULDEEP SINGH MANN
1004 Blue Hero Ct.
Forney, TX 75126

    Plaintiff


                  -against-
                                                 Case No. 1:22-cv-00366

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,                            COMPLAINT
c/o Office of the Chief Counsel
5900 Capital Gateway Drive
Mail Stop 2120
Camp Springs, MD 20588-0009

DEPARTMENT OF HOMELAND SECURITY
c/o Office of the General Counsel
U.S. Department of Homeland Security
2707 Martin Luther King Jr. Ave, SE
Mail Stop 0485
Washington DC 20528-0485

    Defendants




                              INTRODUCTION AND SUMMARY

 1. This is the plaintiff, Mehuldeep Singh Mann’s, complaint, charging that the United States

    Citizenship and Immigration Services (USCIS) improperly denied his motion to reopen

    the denial of his application for STEM OPT extension because it received his STEM OPT

    extension one day late.


                                            1
       Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 2 of 13




2.   Mehuldeep Mann moved for reopening , on the grounds that this deadline should have

     been equitably tolled because he sent his application three days in advance by overnight

     delivery service and because the delivery was delayed by extraordinary circumstances

     beyond his control, that being an unusually fierce winter storm delaying the processing of

     his delivery.

3. The USCIS, in denying his motion, offered no explanation for its failure to apply

     equitable tolling except that “there's no regulations that give an exemption to a late

     filing.”

4. Inasmuch as it is well settled that regulatory deadlines are generally subject to equitable

     tolling, and the USCIS has offered no reason why this one should not be, this Court

     should find the USCIS’s decision denying Mehuldeep Mann’s motion to reopen to not be

     in accordance with law, hold it unlawful and set it aside.

5. Further, inasmuch as the Department of Homeland Security (DHS), in amending its

     regulations to provide a deadline for the filing of STEM OPT extensions, failed to

     articulate any explanation for that deadline, nor considered an important part of the

     problem in making this amendment, such as the possibility that F-1 nonimmigrants might

     be delayed from filing timely applications due to extraordinary circumstances beyond

     their control, the DHS’s decision to amend its regulations to establish the deadline

     Mehuldeep Mann was unable to meet should also be held arbitrary and so unlawful, and

     set aside.


                                     LEGAL BACKGROUND




                                               2
             Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 3 of 13




     6. 8 U.S.C. § 1101(a)(15) provides in relevant part that “(t)he term “immigrant” means

          every alien except an alien who is within one of the following classes of

          nonimmigrant aliens— …

          (F)(i) an alien having a residence in a foreign country which he has no intention of
          abandoning, who is a bona fide student qualified to pursue a full course of study and who
          seeks to enter the United States temporarily and solely for the purpose of pursuing such a
          course of study consistent with section 1184(l) [1] of this title at an established college,
          university, seminary, conservatory, academic high school, elementary school, or other
          academic institution or in an accredited language training program in the United
          States, particularly designated by him and approved by the Attorney General after
          consultation with the Secretary of Education, which institution or place of study shall
          have agreed to report to the Attorney General the termination of attendance of each
          nonimmigrant student, … .

     7. Such nonimmigrants are commonly referred to a “F-1 students”.

     8. 8 C.F.R. § 214.2(f)(10 provides in relevant part that:

          Practical training may be authorized to an F-1 student who has been lawfully enrolled on
          a full-time basis, in a Service-approved college, university, conservatory, or seminary for
          one full academic year. …
          (ii)(A)… Consistent with the application and approval process in paragraph (f)(11) of this
          section, a student may apply to USCIS for authorization for temporary employment for
          optional practical training directly related to the student's major area of study. … A
          student may be granted authorization to engage in temporary employment for optional
          practical training: …
          (3) After completion of the course of study, or, for a student in a bachelor’s, master’s, or
          doctoral degree program, after completion of all course requirements for the degree
          (excluding thesis or equivalent). Continued enrollment, for the school’s administrative
          purposes, after all requirements for the degree have been met does not preclude eligibility
          for optional practical training.

9. 8 C.F.R. § 214.2(f)(10)(ii)(C) provides in relevant part that “ 24-month extension of post-

completion OPT for a science, technology, engineering, or mathematics (STEM) degree1.

Consistent with paragraph (f)(11)(i)(C) of this section, a qualified student may apply for an



1 The term ‘‘science, technology, engineering or mathematics field’’ means a field included in the Department of Education’s
Classification of Instructional Programs taxonomy within the two-digit series or successor series containing engineering,
biological sciences, mathematics, and physical sciences, or a related field. In general, related fields will include fields involving
research, innovation, or development of new technologies using engineering, mathematics, computer science, or natural sciences
(including physical, biological, and agricultural sciences). 8 C.F.R. § 214.2(f)(10)(ii)(C)(2)(i).

                                                                  3
                 Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 4 of 13




extension of OPT while in a valid period of post-completion OPT authorized under 8 CFR

274a.12(c)(3)(i)(B).2”.

10. This extension is commonly referred as a “STEM OPT extension”.

                                   BRIEF STATEMENT OF RELEVANT FACTS

                                                        THE PARTIES
11. The plaintiff, Mehuldeep Mann, is a native and citizen of India who was last admitted to the

United States on December 4, 2019 as a nonimmigrant foreign student (F-1) for the purpose of

completing a Master’s degree in Electrical and Electronic Engineering from an American

university.

12. The defendant, Department of Homeland Security (DHS), is the department which amended

its regulations to add 8 C.F.R. § 214.2(f)(10)(ii)(C) and, in particular, to require that a “qualified

student may (only) apply for an extension of OPT while in a valid period of post-completion

OPT authorized under 8 CFR 274a.12(c)(3)(i)(B)” in order to be considered for a STEM OPT

extension.

13. The United States Citizenship and Immigration Services is the agency authorized by the

Secretary of Homeland Security to grant STEM OPT extensions.




28 C.F.R. § 274a.12(c) provides in relevant part that:
An alien within a class of aliens described in this section must apply for work authorization. If authorized, such an alien may
accept employment subject to any restrictions stated in the regulations or cited on the employment authorization document. …

    (3) A nonimmigrant (F-1) student who:
       (i)
             …
             (B) Is seeking authorization to engage in up to 12 months of post-completion Optional Practical Training (OPT)
             pursuant to 8 CFR 214.2(f)(10)(ii)(A)(3);



                                                                  4
            Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 5 of 13




14. On February 26, 2020, Mehuldeep Mann was authorized by the USCIS to be employed in

the U.S. until February 19, 2021, in post completion optional practical training pursuant to 8

CFR 214.2(f)(10)(ii)(A)(3).

15. On February 16, 2021, Mehuldeep Mann gave to the United States Postal Service (USPS) a

Form I-765 and various supporting documents seeking a STEM OPT extension.

16. USPS agreed, for a premium fee, to deliver Mehuldeep Mann’s said papers to USCIS no later

than February 17, 2021.

17. This was 2 days before the February 19, 2021 date by which Mehuldeep Mann was required

to file this application with USCIS. 8 CFR 214.2(f)(10)(ii)(C).

18. Unfortunately, the application was not delivered to USCIS until February 22, 2021, one (1)

business day after the regulatory deadline.

19. This late delivery was due to the following extraordinary circumstances beyond Mehuldeep

Mann’s control:

   a. The USPS’s delivery of Mr. Mann’s application, not overnight as promised, or by the 2nd
      business day, or even by the 3rd business day following it being given to the USPS for
      overnight delivery, but rather by the 4th.

   b. Severe weather conditions caused by Winter Storm Viola shocked the Texas area
      between February 15 and 20 of this year, just as Mr. Mann was mailing his package,
      which was received by the USPS in Wylie, Texas (just north of Dallas) on February 16,
      2021. Exhibit A at 1.

       i.        Although the scheduled delivery date – in Chicago – was February 17, id., USPS
                tracking records show that it did not even arrive at the USPS’s Coppel TX
                Distribution Center until February 18. Id. at 2. A USPS press release from
                February 16, 2021 explains that:

       Update on USPS operations for Texas mail processing plants

       Texas- effective immediately, full operations have resumed at the following Texas mail
       processing plants:

       North Texas PDC

                                                 5
         Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 6 of 13




       951 W. Bethel Rd.
       Coppel, TX 75099

       The following mail processing plants have a temporary redirection:

       …

       Dallas PDC
       401 Tom Landry Hwy.
       Dallas, TX 75260

       Will be redirected to:

       North Texas PDC
       951 W. Bethel Rd.
       Coppel, TX 75099


       The U.S. Postal Service apologizes for any inconvenience these temporary suspensions
       may have caused.

       Exhibit A at 3

20. Thus the extraordinary delay between the pickup of Mehuldeep Mann’s application in Wylie,

Texas on February 16 and its arrival at the North Texas PDC on February 18, one day after it had

been promised to be delivered in Chicago, was a result of the redirection of the package from the

Dallas PDC, which was the closest to the Wylie, TX drop off location, to the North Texas PDC,

due directly to the effects of Winter Storm Viola.

21. However, the adverse effects of the extraordinarily severe weather did not end there.

22. Pursuant to the USPS’s commitment to overnight delivery, the package should have left the

applicable Package Delivery Center the same day received or, at worst, early the next morning.

Instead, although it arrived at the North Texas PDC at 9:15 a.m. on February 18, the package did

not leave the Center until the end of the next business day, February 19, at 6:14 p.m. Exhibit A at

2..

23. This additional extraordinary delay in USPS processing times also must be attributed to

                                                 6
           Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 7 of 13




Winter Storm Viola, since the storm caused all of the Dallas PDC’s packages to be redirected to

the North Texas PDC, which means the latter was now processing approximately double the

packages it normally received. Exhibit A at 3.

24. This resulted in yet another day of delay in the package arriving at its destination in Chicago,

for a total of 3 days lost, all because of the severe weather conditions created by Winter Storm

Viola.

See:

         a. Peter Mullinax, WPC Meteorologist, “Southern Plains to Northeast Winter Storm”
         WEATHER PREDICTION CENTER NATIONAL OCEANIC AND ATMOSPHERIC
         ADMINISTRATION, 2/16 - 2/18 2021
         https://www.wpc.ncep.noaa.gov/storm_summaries/event_reviews/2021/Southern_Plains_
         to_Northeast_Winter_Storm_Feb2021.pdf. Exhibit A at 3

         b. "Winter Storm Viola Smashed Records and Brought Snow, Ice into Northeast," By
            weather.com meterologists, February 20, 2021.
            https://weather.com/safety/winter/news/2021-02-14-cross-country-winter-storm-
            northwest-south-midwest-east Exhibit A at 4-5.

         c. Allana Akhtar, "Extreme Weather across the US is snarling operations for companies
            including Walmart, GM and FedEx" February 16, 2021
            https://www.businessinsider.in/retail/news/extreme-weather-across-the-us-is-snarling-
            operations-for-companies-including-walmart-gm-and-
            fedex/articleshow/81017518.cms. Exhibit A at 6-16.

25. Because the USCIS did not receive Mehuldeep Mann’s application until the business day

following the due date provided by regulation, the USCIS issued a decision on April 27, 2021,

denying Mr. Mann’s application for a STEM OPT extension.

26. On June 10, 2021, Mr. Mann filed a motion with USCIS to reopen its decision in which he

argued that the filing deadline for this application should be equitably tolled for the reasons

stated above.

27. On December 15, 2021, USCIS issued a decision denying Mr. Mann’s motion, solely

because “It's the responsibility of the applicant to make sure they file their Form I-765 properly

                                                  7
          Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 8 of 13




and timely and there's no regulations that give an exemption to a late filing. The applicant failed

to file his STEM OPT before his 12-month OPT expired as required by federal regulations.”


                                      CAUSES OF ACTION

   I.      THE USCIS’S DECISION THAT EQUITABLE TOLLING DOES NOT APPLY TO
           APPLICATIONS FOR STEM OPT EXTENSIONS IS NOT IN ACCORDANCE
           WITH LAW

28. The USCIS’s sole basis for refusing to even consider applying equitable tolling to

Mehuldeep Mann’s late STEM OPT extension was because “there's no regulations that give an

exemption to a late filing”.

29. However, the deadline provided in 8 CFR 214.2(f)(10)(ii)(C) is not "jurisdictional", and

therefore subject to equitable tolling, in light of the Supreme Court's recent decision in

Henderson v. Shinseki, 131 S.Ct. 1197, 1202–03, 179 L.Ed.2d 159 (2011).

30. In Henderson the Supreme Court held that the 120–day deadline for seeking Veterans Court

review was not jurisdictional because:

        "The terms of the provision setting that deadline, 38 U.S.C. § 7266(a), do not suggest,
        much less provide clear evidence, that the provision was meant to carry jurisdictional
        consequences. ... This provision “does not speak in jurisdictional terms or refer in any
        way to the jurisdiction of the [Veterans Court],” Zipes v. Trans World Airlines, Inc., 455
        U.S. 385, 394, 102 S.Ct. 1127, 71 L.Ed.2d 234 (1982). If Congress had wanted the 120–
        day time to be treated as jurisdictional, it could have cast that provision in language like
        that in the provision of the VJRA that governs Federal Circuit review of decisions of the
        Veterans Court. This latter provision states that Federal Circuit review must be obtained
        “within the time and in the manner prescribed for appeal to United States courts of
        appeals from United States district courts.” § 7292(a). Because the time for taking an
        appeal from a district court to a court of appeals in a civil case has long been understood
        to be jurisdictional, see Bowles, supra, at 209–210, and n. 2, 127 S.Ct. 2360, this
        language clearly signals an intent to impose the same restrictions on appeals from the
        Veterans Court to the Federal Circuit. But the 120–day limit at issue in this case is not
        framed in comparable terms. It is true that § 7266 is cast in mandatory language, but we
        have rejected the notion that “all mandatory prescriptions, however emphatic, are ...
        properly typed jurisdictional.” Union Pacific, 558 U.S., at ––––, 130 S.Ct., at 596
        (quoting Arbaugh, 546 U.S., at 510, 126 S.Ct. 1235; internal quotation marks omitted).

                                                  8
          Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 9 of 13




        Thus, the language of § 7266 provides no clear indication that Congress wanted that
        provision to be treated as having jurisdictional attributes.

Henderson, 131 S.Ct at 1204-1205

31. Of course it cannot be said that Congress intended the instant deadline to be jurisdictional, if

for no other reason than it is not a congressional creation at all, but, rather, a product of the

Secretary of Homeland Security’s regulations.

32. In any event, the plain language of the regulation does not suggest, much less provide clear

evidence, that the provision was meant to carry jurisdictional consequences.

33. The same analysis which the 11th Circuit recently applied in concluding that Henderson

precluded the filing deadlines for motions to reopen from being considered jurisdictional is

equally applicable to the regulation here:

        The statute, similar to the statute at issue in Henderson, simply provides that “[e]xcept as
        provided in this subparagraph, the motion to reopen shall be filed within 90 days of the
        date of entry of a final administrative order of removal.” 8 U.S.C. § 1229a(c)(7)(C)(i).
        The statute does not speak in terms of subject matter jurisdiction, i.e. “a tribunal's power
        to hear a case.” Union Pacific, 130 S.Ct. at 596 (internal quotation marks omitted).
        Moreover, that the statute is written in mandatory terms is of no moment as the Supreme
        Court has rejected the idea that “all mandatory ‘prescriptions, however emphatic, are ...
        properly typed jurisdictional.’ ” Id. (quoting Arbaugh, 546 U.S. at 510, 126 S.Ct. 1235);
        see also Kontrick, 540 U.S. at 454, 124 S.Ct. 906 (explaining that a time limitation may
        be emphatic without being jurisdictional).

Avila-Santoyo v. U.S. Atty. Gen., 713 F.3d 1357, 1361 (11th Cir. 2013).

34. While it is true that unlike the statute at issue in Henderson, it is not apparent that the STEM

OPT extension scheme is particularly solicitous to immigrants nor contains provisions that

encourage the favorable review of such applications, again, that scheme is a product of

regulation, not statute, and so casts no light on Congressional intent.

35. Nevertheless, immigration matters are somewhat similar to applications for veteran’s benefits

in that just as the Supreme Court has "long applied ‘the canon that provisions for benefits to



                                                   9
            Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 10 of 13




members of the Armed Services are to be construed in the beneficiaries' favor.’", Henderson, 131

S.Ct at 1206, quoting King v. St. Vincent's Hospital, 502 U.S. 215, 220–221, n. 9, 112 S.Ct. 570,

116 L.Ed.2d 578 (1991), so too it recognizes the canon of statutory construction whereby

ambiguities in immigration statutes are to be construed in favor of the noncitizen. E.g. INS v.

Cardoza-Fonseca, 480 U.S. 421, 449 (1987).

36. Arguably, Henderson might have been limited because veterans' claims are traditionally

treated liberally, but that argument cannot be made in light of the unanimous Supreme Court

decision in Arbaugh v. Y & H Corp.

37. Arbaugh did not involve a class of litigants receiving special solicitude or even a time

deadline.

38. The arguably jurisdictional requirement in that case was the fifteen-employee threshold for

Title VII claims.

39. The unsuccessful employer tried to raise this after a jury verdict for the plaintiff, since

jurisdictional requirements can never be waived.

40. Emphatically narrowing past purportedly “jurisdictional” rulings, Arbaugh says that the

Court itself had been “less than meticulous” in making “ ‘drive-by jurisdictional rulings' that

should be accorded no precedential effect.”

41. The Court characterized its recent decisions as holding that “time prescriptions, however

emphatic, are not properly typed jurisdictional.”

42. That was so even where the Court itself had described them as “mandatory and

jurisdictional,” because the Court itself had been “profligate in its use of the term.” Irigoyen-

Briones v. Holder, 644 F.3d 943, 948-949 (9th Cir. 2011) (footnotes and citations omitted).




                                                  10
         Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 11 of 13




43. Accordingly, the USCIS erred as a matter of law when it failed to consider whether

Mehuldeep Mann’s application for a STEM OPT extension was subject to equitable tolling.

WHEREFORE this Court should hold the USCIS’s decision denying Mr. Mann’s motion to

reopen unlawful, as not in accordance with law, and set it aside. 5 U.S.C. § 706(2).

                                            COUNT II

44. On March 16, 2022, the Department of Homeland Security amended its F–1 nonimmigrant

student visa regulations on optional practical training (OPT) for certain students with degrees in

science, technology, engineering, or mathematics (STEM) from U.S. institutions of higher

education.

45. Specifically, the final rule allowed such F–1 STEM students who have elected to pursue 12

months of OPT in the United States to extend the OPT period by 24 months.

50. This final rule provided, among other things that “ a qualified student may apply for an

extension of OPT while in a valid period of post-completion OPT authorized under 8 CFR

274a.12(c)(3)(i)(B).”

46. Neither the final rule, nor the earlier proposed rule, provided any explanation, rational or

otherwise, for requiring that applications for STEM OPT extensions must be filed while the F-1

STEM student is in a valid period of post-completion OPT authorized under 8 CFR

274a.12(c)(3)(i)(B).

47. In particular, the rule provided no rational explanation, or explanation at all, of why an F-1

STEM student could not apply for an extension of OPT while he was in the 60 day period of

lawful status following the expiration of his first period of post completion OPT, pursuant to 8

CFR 214.2(f)(5)(iv). See La. PSC v. FERC, Nos. 20-1104, 20-1356, 2021 U.S. App. LEXIS




                                                 11
         Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 12 of 13




36001, at *10 (D.C. Cir. Dec. 7, 2021) (“If an agency does not provide a rational explanation for

its action based on the relevant data, then that action is arbitrary and capricious.”).

48. Further, the rule failed entirely to consider an important aspect of the problem, namely

whether there should be an exception for persons who were unable to make a timely filing,

despite due diligence, due to extraordinary circumstances beyond their control. See Little Sisters

of the Poor Saints Peter & Home v. Pennsylvania, 140 S. Ct. 2367, 2384 (2020).

WHEREFORE this Court should find the USCIS’s decision denying Mr. Mann’s application for

a STEM OPT extension to be arbitrary and capricious, and hold it unlawful and set it aside. 5

U.S.C. § 706(2).

                             COUNT III
 THE COURT SHOULD COMPEL THE USCIS TO PROMPTLY ISSUE A DECISION ON
 MR. MANN’S STEM OPT EXTENSION APPLICATION AND/OR MOTION TO REOPEN


49. The USCIS’s unlawful denial of Mulhdeep Mann’s application for a STEM OPT extension

has unreasonably delayed a proper adjudication of the same.

50. The USCIS’s unlawful denial of Mulhdeep Mann’s Motion to Reopen has unreasonably

delayed a proper adjudication of the same.



WHEREFORE this Court should order USCIS to render a decision upon Mr. Mann’s

application for STEM OPT extension and Motion to Reopen immediately upon this Court’s

Order setting aside the corresponding denial(s), 5 U.S.C. § 706(1).




Respectfully Submitted this 1st day of February, 2022




                                                  12
        Case 1:22-cv-00366-FYP Document 2 Filed 03/03/22 Page 13 of 13




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                                      13
